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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                         §
    In re:                                                               §    Chapter 11
                                                                         §
    IHEARTMEDIA, INC., et al.,1                                          §    Case No. 18-31274 (MI)
                                                                         §
                               Debtors.                                  §    (Joint Administration Requested)
                                                                         §    (Emergency Hearing Requested)

                         DEBTORS’ EMERGENCY MOTION
                FOR ENTRY OF AN ORDER (I) AUTHORIZING THE
             DEBTORS TO FILE A CONSOLIDATED LIST OF CREDITORS
           AND A CONSOLIDATED LIST OF THE 30 LARGEST UNSECURED
        CREDITORS, (II) AUTHORIZING THE DEBTORS TO REDACT CERTAIN
      PERSONAL IDENTIFICATION INFORMATION, (III) APPROVING THE FORM
        AND MANNER OF NOTIFYING CREDITORS OF THE COMMENCEMENT
        OF THESE CHAPTER 11 CASES, AND (IV) GRANTING RELATED RELIEF

             THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
             OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO
             RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST
             FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOUR RESPONSE MUST
             STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
             RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU
             OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND
             THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER
             EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

             EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE MOTION
             ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF
             YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY
             CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE. A
             HEARING WILL BE HELD ON THIS MATTER ON MARCH 15, 2018, AT 2:00 P.M. (CT) BEFORE
             THE HONORABLE MARVIN ISGUR, 515 RUSK STREET, COURTROOM 404, HOUSTON, TEXAS
             77002.

             REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.




1     Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested,
      a complete list of the Debtors and the last four digits of their tax identification, registration, or like numbers is not
      provided herein. A complete list of such information may be obtained on the website of the Debtors’ proposed
      claims and noticing agent at www.primeclerk.com/iheartmedia. The location of Debtor iHeartMedia, Inc.’s
      principal place of business and the Debtors’ service address is: 20880 Stone Oak Parkway, San Antonio, Texas
      78258.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion (this “Motion”):2

                                             Relief Requested

        1.      The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A, (a) authorizing the Debtors to file a consolidated creditor matrix and list of the

30 largest general unsecured creditors in lieu of submitting separate mailing matrices and creditor

lists for each Debtor, (b) authorizing the Debtors to redact certain personal identification

information, (c) approving the form and manner of notice of commencement of these chapter 11

cases and the scheduling of the meeting of creditors under section 341 of the Bankruptcy Code,

and (d) granting related relief.

                                         Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Order of Reference to Bankruptcy Judges (District Court General Order 2012-6), dated May 24,

2012 (the “Standing Order”). The Debtors confirm their consent, pursuant to rule 7008 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to the entry of a final order by

the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 105(a), 107(b), and 521 of


2   The facts and circumstances supporting this Motion are set forth in the Declaration of Brian Coleman, Senior
    Vice President and Treasurer of iHeartMedia, Inc., in Support of Chapter 11 Petitions and First Day Motions
    (the “First Day Declaration”), filed contemporaneously herewith and incorporated by reference herein.


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title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rules 1007, 2002, and

6003, and rule 9013-1 of the Bankruptcy Local Rules for the Southern District of Texas

(the “Bankruptcy Local Rules”).

                                           Background

       5.      iHeartMedia, Inc. (“iHeart”) and its direct and indirect Debtor and non-Debtor

subsidiaries are a diversified media and entertainment business headquartered in San Antonio,

Texas, with approximately 17,000 employees operating in the Americas, Europe, and Asia. These

entities operate three primary business segments: (i) iHeartMedia (the “iHM Segment”),

(ii) Americas Outdoor Advertising, and (iii) International Outdoor Advertising (Americas Outdoor

Advertising and International Outdoor Advertising together, the “Outdoor Segments”). The

Debtors in these cases operate the iHM Segment, which provides media and entertainment services

via broadcast and digital delivery and also includes other businesses, including a national

syndication business, a live-events business, and a media representation business (collectively,

“iHM”). Non-Debtor affiliates (including, among others, Clear Channel Outdoor Holdings, Inc.,

Clear Channel Outdoor, Inc., and Clear Channel International BV) operate the Outdoor Segments,

which provide outdoor advertising services in North America and internationally using various

digital and traditional display types.

       6.      For the year ended December 31, 2017, the Debtors recognized approximately

$1.01 billion of OIBDAN and $3.58 billion of revenue. As of the Petition Date (as defined herein),

the funded debt obligations of iHeart and its direct and indirect Debtor and non-Debtor subsidiaries

totaled over $20 billion, while the Debtors’ funded obligations totaled approximately $16 billion.

       7.      On March 14, 2018 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their



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businesses and managing their properties as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. Concurrently with the filing of this Motion, the Debtors filed a

motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has

been made in these chapter 11 cases, and no committees have been appointed or designated.

I.     Consolidated Creditor Matrix.

       8.      Bankruptcy Rule 1007(a)(1) requires a debtor to file “a list containing the name and

address of each entity included or to be included on Schedules D, E, F, G, and H.” Fed. R. Bankr.

P. 1007(a)(1). Although the list of creditors usually is filed on a debtor-by-debtor basis, in a

complex chapter 11 bankruptcy in the Southern District of Texas under the General Order in the

Matter of Procedures for Complex Chapter 11 Cases, Exhibit G, for cases involving more than

one debtor, debtors may file a consolidated creditor matrix. Here, the preparation of separate lists

of creditors for each Debtor would be expensive, time consuming, and administratively

burdensome. Accordingly, the Debtors respectfully request authority to file one consolidated list

of creditors for all of the Debtors (the “Creditor Matrix”).

II.    Consolidated List of the 30 Largest General Unsecured Creditors.

       9.      Pursuant to Bankruptcy Rule 1007(d), a debtor shall file “a list containing the name,

address and claim of the creditors that hold the 20 largest unsecured claims, excluding insiders.”

Fed. R. Bankr. P. 1007(d). Because a large number of creditors may be shared amongst the

Debtors, the Debtors request authority to file a single, consolidated list of their 30 largest general

unsecured creditors (the “Top 30 List”). The Top 30 List will help alleviate administrative

burdens, costs, and the possibility of duplicative service. Although they reserve the right to do so




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in the future, in this Motion, the Debtors are not requesting authority to file consolidated schedules

of assets and liabilities and statements of financial affairs or substantively consolidate the Debtors.3

III.       Equity Holder Lists.

           10.      Bankruptcy Rule 1007(a)(3) provides that, “unless the court orders otherwise, the

debtor shall file within 14 days after entry of the order for relief a list of the debtor’s equity security

holders,” including names and last known addresses of holders. Fed. R. Bankr. P. 1007(a)(3).

Bankruptcy Rule 2002(d) provides that, “unless otherwise ordered by the court,” notice shall be

provided to all equity holders of the commencement of the case, any equity holders meeting under

section 341 of the Bankruptcy Code, certain asset sales, conversion or dismissal hearings, the

disclosure statement deadline, the confirmation objection deadline, and the voting deadline. Fed.

R. Bankr. P. 2002(d).

           11.      Debtor iHeart is a publicly held company trading on the Over the Counter Pink

Sheets. The Debtors do not maintain a list of publicly traded equity holders and therefore must

obtain the names and addresses of their publicly traded shareholders from a securities agent. For

this reason, preparing a list of equity holders with accurate names and last known addresses, and

providing notices to all such parties of the commencement of these chapter 11 cases, would create

undue expense and administrative burden without a corresponding benefit to the estates or parties

in interest. To the extent equity holders are entitled to vote on a chapter 11 plan, the Debtors will

provide them with the appropriate bar date and plan-related notices, which will permit them to

assert their interests.        Under the circumstances, the Debtors respectfully submit that it is


3      Pursuant to the Debtors’ Emergency Motion for Entry of an Order (I) Extending Time to File Schedules of
       (A) Assets and Liabilities, (B) Schedules of Current Income and Expenditures, (C) Schedules of Executory
       Contracts and Unexpired Leases, (D) Statements of Financial Affairs, and (E) Rule 2015.3 Financial Reports;
       (II) Waiving the Requirement to File a List of Equity Security Holders and (III) Granting Related Relief, filed
       contemporaneously herewith, the Debtors are requesting an extension of the time within which they must file
       their respective schedules and statements.


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appropriate for the Court to waive and modify these requirements accordingly, as expressly

contemplated by the applicable Bankruptcy Rules.

IV.       Redaction of Certain Confidential Information.

          12.      Section 107(c) of the Bankruptcy Code provides that the Court “for cause, may

protect an individual, with respect to the following types of information to the extent the court

finds that disclosure of such information would create undue risk of identity theft . . . [a]ny means

of identification . . . contained in a paper filed, or to be filed in a case under” the Bankruptcy Code.

11 U.S.C. § 107(c)(1)(A). The Debtors respectfully submit that cause exists to authorize the

Debtors to redact the names and address information of individual creditors who are the Debtors’

employees and independent contractors from the Creditor Matrix because such information could

be used to perpetrate identity theft. The Debtors propose to provide an unredacted version of the

Creditor Matrix to the Court, the Office of the United States Trustee for the Southern District of

Texas (the “U.S. Trustee”), and any official committees appointed in these chapter 11 cases.

          13.      Courts in this jurisdiction have granted the relief requested herein in comparable

chapter 11 cases. See, e.g., In re Seadrill Ltd., No. 17-60079 (DRJ) (Bankr. S.D. Tex. Sept. 13,

2017) (authorizing the debtors to redact certain personal information of individual creditors); In re

GenOn Energy, Inc., No. 17-33695 (DRJ) (Bankr. S.D. Tex. June 15, 2017) (same); In re CJ

Holding Co., No. 16-33590 (DRJ) (Bankr. S.D. Tex. July 21, 2016) (same); In re SandRidge

Energy LLC, No. 16-32488 (DRJ) (Bankr. S.D. Tex. May 18, 2016) (same); In re Linn Energy

LLC, No. 16-60040 (DRJ) (Bankr. S.D. Tex. May 13, 2016) (same).4




4     Because of the voluminous nature of these orders, such orders have not been attached to this Motion. Copies of
      these orders are available upon request to the Debtors’ proposed counsel.


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       14.     For these reasons, the Debtors respectfully submit that cause exists to authorize the

Debtors to redact name and address information of individual creditors who are the Debtors’

employees and independent contractors from the Creditor Matrix because such information could

be used to perpetrate identity theft or unlawful injury to an individual.

V.     Service of the Notice of Commencement.

       15.     Bankruptcy Rule 2002(a) provides, in relevant part, that “the clerk, or some other

person as the court may direct, shall give the debtor, the trustee, all creditors and indenture trustees

at least 21 days’ notice by mail of: (1) the meeting of creditors under § 341 or § 1104(b) of the

Code.” Fed. R. Bankr. P. 2002(a). Bankruptcy Rule 2002(f) provides that notice of the order for

relief shall be sent by mail to all creditors. Fed. R. Bankr. P. 2002(f).

       16.     Through Prime Clerk LLC, the Debtors’ proposed claims, noticing, solicitation, and

administrative agent, the Debtors propose to serve the Notice of Commencement, substantially in

the form attached as Exhibit 1 to Exhibit A attached hereto (the “Notice of Commencement”), on

all parties listed on the Creditor Matrix to advise them of the meeting of creditors under section

341 of the Bankruptcy Code. Service of the single Notice of Commencement on the Creditor

Matrix will not only avoid confusion among creditors, but will prevent the Debtors’ estates from

incurring unnecessary costs associated with serving multiple notices to the parties listed on the

Debtors’ voluminous Creditor Matrix. Accordingly, the Debtors submit that service of a single

Notice of Commencement is warranted.

                                     Emergency Consideration

       17.     Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this Motion pursuant to Bankruptcy Rule 6003, which empowers a

court to grant relief within the first 21 days after the commencement of a chapter 11 case “to the



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extent that relief is necessary to avoid immediate and irreparable harm.” This Motion requests

relief from procedural rules and requirements that pertain to matters of immediate significance or

which involve deadlines sooner than 21 days after the Petition Date. The relief will save costs and

avoid undue administrative burden and confusion only if granted before the applicable deadlines.

Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 and, therefore, respectfully request that the Court approve the

relief requested in this Motion on an emergency basis.

                                              Notice

       18.     Notice of the hearing on the relief requested in the Motion has been provided by

the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

Bankruptcy Local Rules, and is sufficient under the circumstances. Without limiting the forgoing,

due notice was afforded, whether by facsimile, electronic mail, overnight courier or hand delivery,

to parties-in-interest, including (a) the U.S. Trustee; (b) entities listed as holding the 30 largest

unsecured claims against the Debtors (on a consolidated basis); (c) the agent for the Debtors’

receivables based credit facility; (d) the agent for the Debtors’ term loan credit facility; (e) the

indenture trustees for the Debtors’ priority guarantee notes, 14.0% senior notes due 2021, 6.875%

senior notes due 2018, and 7.25% senior notes due 2027; (f) counsel to an ad hoc group of lenders

under the Debtors’ term loan credit facility and priority guarantee noteholders; (g) counsel to an

ad hoc group of lenders under the Debtors’ term loan credit facility; (h) counsel to an ad hoc group

of holders of 6.875% senior notes due 2018 and 7.25% senior notes due 2027; (i) counsel to an ad

hoc group of holders of 14.0% senior notes due 2021; (j) the Office of the United States Attorney

for the Southern District of Texas; (k) the state attorneys general for states in which the Debtors

conduct business; (l) the Internal Revenue Service; (m) the Securities and Exchange Commission;



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and (n) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Debtors submit

that, in light of the nature of the relief requested, no other or further notice need be given.



                            [Remainder of page intentionally left blank]




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         WHEREFORE, the Debtors respectfully request that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested in this Motion

 and granting such other and further relief as is appropriate under the circumstances.

Houston, Texas
March 15, 2018

/s/ Patricia B. Tomasco
Patricia B. Tomasco (TX Bar No. 01797600)           James H.M. Sprayregen, P.C. (pro hac vice pending)
Matthew D. Cavenaugh (TX Bar No. 24062656)          Anup Sathy, P.C. (pro hac vice pending)
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                                                    Proposed Co-Counsel to the Debtors
                                                    and Debtors in Possession
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                                    Certificate of Service

        I certify that on March 15, 2018, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.
                                                       /s/ Patricia B. Tomasco
                                                       Patricia B. Tomasco
